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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )               Case No. 8:10CR158
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )                     ORDER
CARLOS LOMELI,                              )
                                            )
                    Defendant.              )


      This matter is before the court on the defendant's Motion for Permission to File

Motions Out of Time (#107). The defendant through counsel, moves the court for an order

allowing the defendant to file a motion to suppress and other motions compelling the

government to list all government witnesses, inducements given by the government in

return for testimony, and Brady materials that the government has in its possession. The

motion is denied.

      A review of the docket shows the following:

4/21/2010    The defendant was indicted (#1) Count I, for conspiracy cocaine,
             methamphetamine, and marijuana; Count II, use of a communication facility;
             and Count III, possession with intent to distribute less than 100 kilograms of
             marijuana.

5/4/2010     The defendant appeared at his initial appearance with attorney Anthony Ike,
             and the court entered a Progression Order (#33) setting defendant's pretrial
             motion date as May 26, 2010.

5/5/2010     Attorney James McGough enters an appearance (#38).

5/20/2010    Attorney McGough moves the court for an order extending time to file pretrial
             motions (#62).

5/21/2010    Court grants the motion for extension of time and sets new date for filing of
             motions as June 20, 2010 (#64).
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6/10/2010     Attorney McGough files a second motion to extend time for filing of pretrial
              motions (#86).

6/11/2010     Court grants defendant's second motion to extend time for filing of motions,
              sets new motion date as June 24, 2010 (#88).

7/9/2010      Attorney William Gallup enters his appearance (#104).

7/9/2010      Attorney McGough moves the court for an order allowing him to withdraw
              (#105).

7/9/2010      Court Order (#106) grants permission for attorney McGough to withdraw.

       A review of the record in this case shows the defendant has had two prior extensions

of the deadline dates to file pretrial motions, extending the dates from the original pretrial

motion dates of May 26, 2010 until June 24, 2010. The record also reflects that attorney

Gallup entered his appearance on July 9, 2010, at which time the date for filing pretrial

motions had already expired on June 24, 2010. Additionally, a review of the record

discloses that from May 4, 2010 through the date of this order the defendant has been

represented by attorney Anthony Ike who is designated on the docket as retained.

       IT IS ORDERED:

       1. The defendant's Motion for Permission to File Motions Out of Time (#107) is

denied.

       2.   A party may object to a magistrate judge's order by filing an "Objection to

Magistrate Judge's Order" within 14 days after being served with the order. The objecting

party must comply with all requirements of NECrimR 59.2.

       Dated this 27TH day of July, 2010.

                                            BY THE COURT:

                                            S/ F. A. Gossett
                                            United States Magistrate Judge

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